        Case 19-04682-JJG-7A              Doc 92       Filed 06/08/21   EOD 06/08/21 11:27:46            Pg 1 of 20




                                          UNITED STATES BANKRUPTCY COURT
                                            SOUTHERN DISTRICT OF INDIANA
                                                 Indianapolis DIVISION

       In re: GREENWALT, JEFFREY ALAN                        §    Case No. 19-04682
                                                             §
                                                             §
                                                             §
                    Debtor(s)


                                CHAPTER 7 TRUSTEE’S FINAL ACCOUNT AND DISTRIBUTION
                                REPORT CERTIFICATION THAT THE ESTATE HAS BEEN FULLY
                                ADMINISTERED AND APPLICATION TO BE DISCHARGED (TDR)




               Jenice Golson-Dunlap, chapter 7 trustee, submits this Final Account, Certification that the Estate has
      been Fully Administered and Application to be Discharged.

               1) All funds on hand have been distributed in accordance with the Trustee’s Final Report and, if
      applicable, any order of the Court modifying the Final Report. The case is fully administered and all assets and
      funds which have come under the trustee’s control in this case have been properly accounted for as provided
      by law. The trustee hereby requests to be discharged from further duties as a trustee.

               2) A summary of assets abandoned, assets exempt, total distributions to claimants, claims discharged
      without payment, and expenses of administration is provided below:



      Assets Abandoned:    $2,365,399.76                          Assets Exempt:      $87,374.76
      (without deducting any secured claims)

      Total Distributions to Claimants:   $26,244.81              Claims Discharged
                                                                  Without Payment:      $40,108,495.96


      Total Expenses of Administration:    $27,762.19




               3) Total gross receipts of $54,007.00 (see Exhibit 1), minus funds paid to the debtor and third parties
      of $0.00 (see Exhibit 2), yielded net receipts of $54,007.00 from the liquidation of the property of the estate,
      which was distributed as follows:




UST Form 101-7-TDR ( 10 /1/2010)
        Case 19-04682-JJG-7A             Doc 92     Filed 06/08/21       EOD 06/08/21 11:27:46           Pg 2 of 20




                                               CLAIMS               CLAIMS                CLAIMS                CLAIMS
                                             SCHEDULED             ASSERTED              ALLOWED                 PAID


   SECURED CLAIMS (from
   Exhibit 3)                                     $51,027.00           $98,422.58                $0.00                 $0.00
   PRIORITY CLAIMS:
   CHAPTER 7 ADMIN. FEES AND
   CHARGES (from Exhibit 4)
                                                       $0.00           $27,762.19           $27,762.19           $27,762.19


   PRIOR CHAPTER ADMIN.
   FEES AND CHARGES (from
   Exhibit 5)                                          $0.00                $0.00                $0.00                 $0.00

   PRIORITY UNSECURED CLAIMS
   (from Exhibit 6)                                  $585.60                $0.00                $0.00                 $0.00

   GENERAL UNSECURED CLAIMS
   (from Exhibit 7)                           $34,984,203.41        $5,150,537.36        $5,150,537.36           $26,244.81


   TOTAL DISBURSEMENTS                        $35,035,816.01        $5,276,722.13        $5,178,299.55           $54,007.00




                 4) This case was originally filed under chapter 7 on 06/25/2019. The case was pending for 23
      months.

                 5) All estate bank statements, deposit slips, and canceled checks have been submitted to the United States
      Trustee.

               6) An individual estate property record and report showing the final accounting of the assets of the estate is
      attached as Exhibit 8. The cash receipts and disbursements records for each estate bank account, showing the final
      accounting of the receipts and disbursements of estate funds is attached as Exhibit 9.

               Pursuant to Fed R Bank P 5009, I hereby certify, under penalty of perjury, that the foregoing report is true
      and correct.




      Dated:        06/07/2021                        By: /s/ Jenice Golson-Dunlap
                                                                          Trustee




      STATEMENT This Uniform Form is associated with an open bankruptcy case, therefore, Paperwork
      Reduction Act exemption 5 C.F.R. § 1320.4(a)(2) applies.




UST Form 101-7-TDR ( 10 /1/2010)
            Case 19-04682-JJG-7A                  Doc 92        Filed 06/08/21           EOD 06/08/21 11:27:46               Pg 3 of 20




                                                                    EXHIBITS TO
                                                                  FINAL ACCOUNT

EXHIBIT 1 – GROSS RECEIPTS

                                                                                              UNIFORM                             $ AMOUNT
     DESCRIPTION
                                                                                             TRAN. CODE1                          RECEIVED

 Avonlea,LLC. This is a real estate holding company. This is a parcel of real                   1129-000                             $48,000.00
 estate located at 2409 E 46th Street, India
 Household goods, artwork and furnishings (values are based on an appraisal)                    1129-000                              $6,007.00

                             TOTAL GROSS RECEIPTS                                                                                    $54,007.00

 1
  The Uniform Transaction Code is an accounting code assigned by the trustee for statistical reporting purposes.




EXHIBIT 2 – FUNDS PAID TO DEBTOR & THIRD PARTIES

                                                                                                    UNIFORM                    $ AMOUNT
                 PAYEE                                      DESCRIPTION
                                                                                                   TRAN. CODE                     PAID

                                                                          None




EXHIBIT 3 - SECURED CLAIMS



                                             UNIFORM              CLAIMS
     Claim                                                                                  CLAIMS                  CLAIMS            CLAIMS
                 CLAIMANT                     TRAN.             SCHEDULED
      NO.                                                                                  ASSERTED                ALLOWED             PAID
                                              CODE            (from Form 6D)


      17        CITIZENS BANK N.A.            4110-000                         NA            $49,211.29                $0.00              $0.00
                ONE CITIZENS BANK
                WAY
      18        CITIZENS BANK N.A.            4110-000                         NA            $49,211.29                $0.00              $0.00
                ONE CITIZENS BANK
                WAY
      N/F       Citizens Bank Na              4110-000                $51,027.00                       NA                NA                  NA

                   TOTAL SECURED                                      $51,027.00             $98,422.58                $0.00              $0.00




UST Form 101-7-TDR ( 10 /1/2010)
         Case 19-04682-JJG-7A             Doc 92   Filed 06/08/21    EOD 06/08/21 11:27:46         Pg 4 of 20




EXHIBIT 4 – CHAPTER 7 ADMINISTRATIVE FEES and CHARGES


                                      UNIFORM        CLAIMS           CLAIMS             CLAIMS              CLAIMS
   PAYEE                               TRAN.       SCHEDULED         ASSERTED           ALLOWED               PAID
                                       CODE

 Trustee, Fees - JENICE GOLSON-       2100-000              NA             $5,950.35        $5,950.35        $5,950.35
 DUNLAP
 Trustee, Expenses - JENICE           2200-000              NA              $180.03          $180.03             $180.03
 GOLSON-DUNLAP
 Auctioneer Fees - CHRISTY'S OF       3610-000              NA              $457.00          $457.00             $457.00
 INDIANA
 Auctioneer Expenses - CHRISTY'S      3620-000              NA               $12.00           $12.00              $12.00
 OF INDIANA
 Charges, U.S. Bankruptcy Court       2700-000              NA              $181.00          $181.00             $181.00

 Charges, U.S. Bankruptcy Court       2700-000              NA              $181.00          $181.00             $181.00

 Banking and Technology Service       2600-000              NA              $398.08          $398.08             $398.08
 Fee - Mechanics Bank
 Banking and Technology Service       2600-000              NA              $110.52          $110.52             $110.52
 Fee - Metropolitan Commercial
 Bank
 Attorney for Trustee Fees (Other     3210-000              NA         $15,683.01       $15,683.01          $15,683.01
 Firm) - RUBIN & LEVIN
 Attorney for Trustee Fees (Other     3210-000              NA             $1,461.50        $1,461.50        $1,461.50
 Firm) - RUBIN & LEVIN A
 PROFESSIONAL CORPORATION
 Attorney for Trustee Expenses        3220-000              NA               $20.45           $20.45              $20.45
 (Other Firm) - RUBIN & LEVIN A
 PROFESSIONAL CORPORATION
 Accountant for Trustee Fees (Other   3410-000              NA             $3,049.75        $3,049.75        $3,049.75
 Firm) - MARIETTA CPAs
 Accountant for Trustee Expenses      3420-000              NA               $77.50           $77.50              $77.50
 (Other Firm) - MARIETTA CPAs
 TOTAL CHAPTER 7 ADMIN. FEES
                                                            NA         $27,762.19       $27,762.19          $27,762.19
        AND CHARGES




EXHIBIT 5 – PRIOR CHAPTER ADMINISTRATIVE FEES and CHARGES

                              UNIFORM          CLAIMS            CLAIMS            CLAIMS               CLAIMS
         PAYEE
                             TRAN. CODE      SCHEDULED          ASSERTED          ALLOWED                PAID

                                                         None




UST Form 101-7-TDR ( 10 /1/2010)
          Case 19-04682-JJG-7A         Doc 92    Filed 06/08/21     EOD 06/08/21 11:27:46      Pg 5 of 20




 EXHIBIT 6 – PRIORITY UNSECURED CLAIMS


                                                                      CLAIMS
                                     UNIFORM        CLAIMS
                                                                     ASSERTED         CLAIMS           CLAIMS
 CLAIM NO.        CLAIMANT            TRAN.      SCHEDULED
                                                                  (from Proofs of    ALLOWED            PAID
                                      CODE      (from Form 6E)
                                                                       Claim)

    N/F      Chicago Department of   5600-000           $585.60                NA           NA                NA
             Revenue

           TOTAL PRIORITY
          UNSECURED CLAIMS                              $585.60              $0.00       $0.00              $0.00




UST Form 101-7-TDR ( 10 /1/2010)
         Case 19-04682-JJG-7A        Doc 92    Filed 06/08/21     EOD 06/08/21 11:27:46      Pg 6 of 20




 EXHIBIT 7 – GENERAL UNSECURED CLAIMS


                                                                    CLAIMS
                                   UNIFORM        CLAIMS
                                                                   ASSERTED         CLAIMS           CLAIMS
 CLAIM NO.        CLAIMANT          TRAN.      SCHEDULED
                                                                (from Proofs of    ALLOWED            PAID
                                    CODE      (from Form 6F)
                                                                     Claim)

     1       ABSOLUTE              7100-000               NA          $23,205.03    $23,205.03            $118.24
             RESOLUTIONS
             INVESTMENTS, LLC
             C/O ABSOLUTE
             RESOLUTIONS
             CORPORATION

     2       MICHAEL BARFIELD-     7100-000               NA           $6,973.83     $6,973.83             $35.54
             BARNWELL WHALEY
             PATTERS

     3       AMERICAN EXPRESS      7100-000               NA          $35,268.20    $35,268.20            $179.71
             NATIONAL BANK C/O
             BECKET AND LEE
             LLP

     4       CLARK &               7100-000               NA           $2,412.39     $2,412.39             $12.29
             ASSOCIATES, INC.

     5       JPMORGAN CHASE        7100-000               NA          $39,614.92    $39,614.92            $201.86
             BANK, N.A. S/B/M/T
             CHASE BANK USA,
             N.A. C/O
             ROBERTSON,
             ANSCHUTZ &

     6       JPMORGAN CHASE        7100-000               NA          $37,067.69    $37,067.69            $188.88
             BANK, N.A. S/B/M/T
             CHASE BANK USA,
             N.A. C/O
             ROBERTSON,
             ANSCHUTZ &

     7       JPMORGAN CHASE        7100-000               NA          $44,747.36    $44,747.36            $228.01
             BANK, N.A. S/B/M/T
             CHASE BANK USA,
             N.A. C/O
             ROBERTSON,
             ANSCHUTZ &

     8       AMERICAN EXPRESS      7100-000               NA          $13,737.08    $13,737.08             $70.00
             NATIONAL BANK C/O
             BECKET AND LEE
             LLP




UST Form 101-7-TDR ( 10 /1/2010)
          Case 19-04682-JJG-7A       Doc 92   Filed 06/08/21   EOD 06/08/21 11:27:46      Pg 7 of 20




     9       JPMORGAN CHASE        7100-000             NA       $67,187.09      $67,187.09            $342.36
             BANK, N.A. S/B/M/T
             CHASE BANK USA,
             N.A. C/O
             ROBERTSON,
             ANSCHUTZ &

     10      AMERICAN EXPRESS      7100-000             NA       $63,437.45      $63,437.45            $323.25
             NATIONAL BANK C/O
             BECKET AND LEE
             LLP

     11      WILLIAM Q. WALKER,    7100-000             NA     $1,654,119.54   $1,654,119.54       $8,428.65
             JR. & JOHN L. SIMMS

     12      BANK OF AMERICA,      7100-000             NA      $100,620.21     $100,620.21            $512.72
             N.A.

     13      TOYOTA MOTOR          7100-000             NA        $2,046.11       $2,046.11             $10.43
             CREDIT
             CORPORATION C/O
             BECKET AND LEE
             LLP

     14      DIRECTV, LLC BY       7100-000             NA          $288.90         $288.90              $1.47
             AMERICAN
             INFOSOURCE AS
             AGENT

     15      BANK OF AMERICA,      7100-000             NA       $34,097.60      $34,097.60            $173.75
             N.A.

     16      PYOD, LLC             7100-000             NA        $4,551.20       $4,551.20             $23.19
             RESURGENT
             CAPITAL SERVICES

     19      PORTER, ROGERS,       7100-000             NA       $21,162.76      $21,162.76            $107.83
             DAHLMAN AND
             GORDON, PC

     20      CANYON SUPPLY &       7100-000             NA     $3,000,000.00   $3,000,000.00      $15,286.63
             LOGISTICS, LLC C/O
             ROGER BRAUGH,
             SICO WHITE
             HOELSCHER

    N/F      ARS                   7100-000        $781.00               NA              NA                NA


    N/F      Am ex                 7100-000      $63,437.00              NA              NA                NA


    N/F      Am ex                 7100-000      $13,737.00              NA              NA                NA


    N/F      Am ex                 7100-000      $35,268.00              NA              NA                NA


    N/F      Bank Of America       7100-000     $100,620.00              NA              NA                NA


UST Form 101-7-TDR ( 10 /1/2010)
          Case 19-04682-JJG-7A          Doc 92   Filed 06/08/21   EOD 06/08/21 11:27:46    Pg 8 of 20




    N/F      Bank of America          7100-000      $33,913.77           NA               NA            NA


    N/F      Barclays Bank            7100-000      $15,703.00           NA               NA            NA
             Delaware

    N/F      Barclays Bank            7100-000      $58,951.00           NA               NA            NA
             Delaware

    N/F      Brian Fahle              7100-000     $348,000.00           NA               NA            NA


    N/F      Canyon Supply &          7100-000   $18,000,000.00          NA               NA            NA
             Logistics, LLC

    N/F      Caterpillar Financial    7100-000      $65,000.00           NA               NA            NA
             Service Corp

    N/F      Cedar Village Holdings   7100-000      $75,000.00           NA               NA            NA
             Inc

    N/F      Charter                  7100-000        $1,043.49          NA               NA            NA
             Communications

    N/F      Citicards Cbna           7100-000      $23,656.00           NA               NA            NA


    N/F      Clark & Associates       7100-000        $2,412.39          NA               NA            NA


    N/F      Credit Collection        7100-000         $791.00           NA               NA            NA
             Services

    N/F      Dick Dilling             7100-000      $12,000.00           NA               NA            NA


    N/F      Engledow                 7100-000        $8,175.78          NA               NA            NA


    N/F      F&S Radiology            7100-000          $47.00           NA               NA            NA


    N/F      Fifth Third Bank         7100-000           $0.00           NA               NA            NA


    N/F      First Capital - Doug     7100-000     $350,000.00           NA               NA            NA
             Hickerson

    N/F      First Merchants Bank     7100-000        $4,743.00          NA               NA            NA


    N/F      Frost Arnett             7100-000         $466.80           NA               NA            NA


    N/F      G&C Funding              7100-000     $114,130.00           NA               NA            NA


    N/F      Golf Coast Collection    7100-000         $565.00           NA               NA            NA
             Bureau




UST Form 101-7-TDR ( 10 /1/2010)
          Case 19-04682-JJG-7A         Doc 92   Filed 06/08/21   EOD 06/08/21 11:27:46    Pg 9 of 20




    N/F      Gulf to Bay Anes        7100-000         $992.00           NA               NA            NA
             Assoc, LLC

    N/F      Health Revenue          7100-000        $4,471.00          NA               NA            NA
             Recovery Group

    N/F      Health Revenue          7100-000        $1,799.00          NA               NA            NA
             Recovery Group

    N/F      Huntington Mortgage     7100-000           $0.00           NA               NA            NA
             Co

    N/F      Huntington Mortgage     7100-000           $0.00           NA               NA            NA
             Co

    N/F      Jeff Heilman            7100-000     $514,975.00           NA               NA            NA


    N/F      Jon Gelman              7100-000     $455,605.58           NA               NA            NA


    N/F      Jpmcb Card              7100-000      $67,187.00           NA               NA            NA


    N/F      Jpmcb Card              7100-000      $44,747.00           NA               NA            NA


    N/F      Jpmcb Card              7100-000           $0.00           NA               NA            NA


    N/F      Jpmcb Card              7100-000      $39,614.00           NA               NA            NA


    N/F      Jpmcb Card              7100-000      $37,067.00           NA               NA            NA


    N/F      Kidz Medical Services   7100-000        $8,334.70          NA               NA            NA


    N/F      Michael Barfield-       7100-000      $20,866.76           NA               NA            NA
             Barnwell Whaley
             Patters

    N/F      Mike Moosbrugger        7100-000        $2,900.00          NA               NA            NA


    N/F      NCH Healthcare          7100-000      $29,457.00           NA               NA            NA


    N/F      Naples Pathology        7100-000        $1,285.00          NA               NA            NA
             Associates

    N/F      Pediatric Spec of       7100-000         $358.00           NA               NA            NA
             America

    N/F      Rick Foster-Porter,     7100-000      $22,543.79           NA               NA            NA
             Rogers, Dahlman & Go

    N/F      Steve Retterath         7100-000   $12,696,000.00          NA               NA            NA




UST Form 101-7-TDR ( 10 /1/2010)
          Case 19-04682-JJG-7A          Doc 92   Filed 06/08/21   EOD 06/08/21 11:27:46      Pg 10 of 20




    N/F      Syncb/gap                7100-000           $0.00              NA              NA              NA


    N/F      Syncb/ppxtrm             7100-000        $4,551.00             NA              NA              NA


    N/F      Toyota Motor Credit      7100-000        $2,046.11             NA              NA              NA


    N/F      US Legal Support         7100-000        $9,568.36             NA              NA              NA


    N/F      William Q. Walker, Jr.   7100-000    $1,691,393.88             NA              NA              NA
             & John Shaw

             TOTAL GENERAL
            UNSECURED CLAIMS                     $34,984,203.41   $5,150,537.36   $5,150,537.36      $26,244.81




UST Form 101-7-TDR ( 10 /1/2010)
             Case 19-04682-JJG-7A                          Doc 92       Filed 06/08/21             EOD 06/08/21 11:27:46                        Pg 11 of 20

                                                               Form 1
                                                                                                                                                       Exhibit 8
                                           Individual Estate Property Record and Report                                                                Page: 1

                                                            Asset Cases
Case No.:    19-04682                                                                      Trustee Name:      (340580) Jenice Golson-Dunlap
Case Name:         GREENWALT, JEFFREY ALAN                                                 Date Filed (f) or Converted (c): 06/25/2019 (f)
                                                                                           § 341(a) Meeting Date:       08/06/2019
For Period Ending:         06/07/2021                                                      Claims Bar Date:      01/06/2020

                                      1                            2                      3                      4                    5                     6

                           Asset Description                    Petition/         Estimated Net Value     Property Formally     Sale/Funds             Asset Fully
                (Scheduled And Unscheduled (u) Property)      Unscheduled        (Value Determined By        Abandoned        Received by the       Administered (FA)/
                                                                 Values                 Trustee,             OA=§554(a)           Estate             Gross Value of
                                                                                Less Liens, Exemptions,       abandon.                              Remaining Assets
  Ref. #                                                                           and Other Costs)

    1       Breckenridge Colorado                                  2,500.00                        0.00         OA                        0.00                           FA
            Timeshare. Entire property value: $5,000.00

    2       2013 Range Rover Land Rover, 63,000                    8,250.00                        0.00         OA                        0.00                           FA
            miles
            Entire property value: $16,500.00

    3       2017 GMC Sierra 2500 HD                              46,000.00                         0.00         OA                        0.00                           FA
            Entire property value: $46,000.00

    4*      Household goods, artwork and                           4,855.00                    4,855.00                               6,007.00                           FA
            furnishings (values are based on an
            appraisal) (See Footnote)

    5       Gym Equipment                                                0.00                      0.00         OA                        0.00                           FA

    6       (2) Pistols (2) Rifles (2) A/Rs                        2,125.00                        0.00         OA                        0.00                           FA

    7       Clothing & Shoes                                           300.00                      0.00         OA                        0.00                           FA

    8       Jewelry                                                1,200.00                        0.00         OA                        0.00                           FA

    9       Joint Personal Checking: First Merchants                     0.00                      0.00         OA                        0.00                           FA
            Bank (overdrawn)

   10       Business Checking: First Merchants Bank                     11.89                      0.00         OA                        0.00                           FA


   11       Business Checking: Chase (overdrawn)                         0.00                      0.00         OA                        0.00                           FA

   12       Business Checking: First Merchants Bank                     37.00                      0.00         OA                        0.00                           FA


   13       Diversity Max, LLC. This is a real estate                    0.00                      0.00         OA                        0.00                           FA
            development company. This LLC has a
            judgment of $20,500 against George
            Grkinich, Kara Grkinich, Evella Grk LLC
            First Merchants bank. Diversity Max may
            also have an accounts receivable due an
            owing from Vault Investments, LLC.
            Liabilites exceed assets., 100%
            ownership

   14       Avonlea,LLC. This is a real estate holding           65,000.00                    65,000.00                              48,000.00                           FA
            company. This is a parcel of real estate
            located at 2409 E 46th Street,
            Indianapolis, IN 46205. This property is
            being sold on land contract to a church.
            There is approximately $130,000 still
            owed being paid at a rate of $1,000 per
            month. This business had a bank account
            at Huntington Bank that was closed in
            October 2017., 50% ownership




UST Form 101-7-TDR ( 10 /1/2010)
             Case 19-04682-JJG-7A                         Doc 92      Filed 06/08/21            EOD 06/08/21 11:27:46                        Pg 12 of 20

                                                          Form 1
                                                                                                                                                    Exhibit 8
                                      Individual Estate Property Record and Report                                                                  Page: 2

                                                       Asset Cases
Case No.:    19-04682                                                                   Trustee Name:      (340580) Jenice Golson-Dunlap
Case Name:       GREENWALT, JEFFREY ALAN                                                Date Filed (f) or Converted (c): 06/25/2019 (f)
                                                                                        § 341(a) Meeting Date:       08/06/2019
For Period Ending:      06/07/2021                                                      Claims Bar Date:      01/06/2020

                                  1                               2                    3                      4                   5                      6

                          Asset Description                    Petition/       Estimated Net Value     Property Formally     Sale/Funds             Asset Fully
               (Scheduled And Unscheduled (u) Property)      Unscheduled      (Value Determined By        Abandoned        Received by the       Administered (FA)/
                                                                Values               Trustee,             OA=§554(a)           Estate             Gross Value of
                                                                             Less Liens, Exemptions,       abandon.                              Remaining Assets
  Ref. #                                                                        and Other Costs)

   15       GEE Global Entertainment Empire, LLC.                     0.00                      0.00         OA                        0.00                           FA
            This company was created to do
            promotions work in Europe. This LLC has
            no assets, no equipment, no inventory.
            The only asset is 2 bank accounts with
            Chase & First Merchants Bank with an
            approximate balance of $48.89. This
            business had a bank account at
            Huntington Bank that was closed in
            August 2017., 50% ownership

   16       Max Financial, LLC. This business                         0.00                      0.00         OA                        0.00                           FA
            ceased operations 4/2015. This LLC was
            going to manage leases for a Naval Base
            in Corpus Christi. This entity never
            operated., 100% ownership

   17       Diversity Max Canyon Port, LLC. This is a                 0.00                      0.00         OA                        0.00                           FA
            real estate holding company. This entity
            never operated. This business had a
            bank account at Huntington Bank that
            was closed in July 2017., 100%
            ownership

   18       Diversity Max CP Holdings, LLC. This                      0.00                      0.00         OA                        0.00                           FA
            was going to be a real estate holding
            company to be used upon closing of the
            Corpus Christi Naval Base. This entity
            never operated., 100% ownership

   19       Prime Stone, LLC. This LLC was formed                     0.00                      0.00         OA                        0.00                           FA
            to hold real estate aquired in the USA.
            This company never operated. This
            business had a bank account at
            Huntington Bank that was closed in April
            2017., 100% ownership

   20       Swan Stone, LLC. This business ceased                     0.00                      0.00         OA                        0.00                           FA
            operations 5/2019. This LLC was to
            develop an energy project in India. This
            company never transacted any business.
            This business had a bank account at
            Huntington Bank that was closed in
            October 2017., 100% ownership

   21       DM Fuels, LLC. This was to be an energy                   0.00                      0.00         OA                        0.00                           FA
            sales company. This company was going
            to buy and sell jet & diesel fuel. This LLC
            never conduected any business. No
            assets. No bank accounts. This business
            had a bank account at Huntington Bank
            that was closed in August 2017., 100%
            ownership




UST Form 101-7-TDR ( 10 /1/2010)
             Case 19-04682-JJG-7A                         Doc 92       Filed 06/08/21             EOD 06/08/21 11:27:46                        Pg 13 of 20

                                                          Form 1
                                                                                                                                                      Exhibit 8
                                      Individual Estate Property Record and Report                                                                    Page: 3

                                                       Asset Cases
Case No.:    19-04682                                                                     Trustee Name:      (340580) Jenice Golson-Dunlap
Case Name:       GREENWALT, JEFFREY ALAN                                                  Date Filed (f) or Converted (c): 06/25/2019 (f)
                                                                                          § 341(a) Meeting Date:       08/06/2019
For Period Ending:      06/07/2021                                                        Claims Bar Date:      01/06/2020

                                  1                               2                      3                      4                   5                      6

                          Asset Description                    Petition/         Estimated Net Value     Property Formally     Sale/Funds             Asset Fully
               (Scheduled And Unscheduled (u) Property)      Unscheduled        (Value Determined By        Abandoned        Received by the       Administered (FA)/
                                                                Values                 Trustee,             OA=§554(a)           Estate             Gross Value of
                                                                               Less Liens, Exemptions,       abandon.                              Remaining Assets
  Ref. #                                                                          and Other Costs)

   22       Greenfield Companies, LLC. This                             0.00                      0.00         OA                        0.00                           FA
            business was dissolved in 2/2013. This
            was to be a real estate holding company.
            This LLC never never conducted any
            business or had any assets. This
            business had a bank account at
            Huntington Bank that was closed in
            October 2017., 33% ownership

   23       Vault Investments, LLC. Ceased                     227,900.00                         0.00         OA                        0.00                           FA
            operations 11/2018. This LLC was
            established to lease financed collateral to
            provide project funding. The accounts
            receivable of approximately $227,900
            may be collectbale in Dubui. This
            business had a bank account at
            Huntington Bank that was closed in July
            2017., 100% ownership

   24       Diversity Max Iraq, LLC. This business                      0.00                      0.00         OA                        0.00                           FA
            ceased operation 11/2014. This was
            going to be an LLC that funded high
            tension power lines in Iraq. This company
            never conducted any business., 100%
            ownership

   25       Diversity Max Egypt, LLC. This busisness                    0.00                      0.00         OA                        0.00                           FA
            ceased operations 12/2014. This was an
            energy sales company that was
            established for waste to energy projects
            in Egypt. This LLC never conducted any
            business., 100% ownership

   26       Diversity Max Nigeria, LLC. This business                   0.00                      0.00         OA                        0.00                           FA
            ceased operations 11/2014. This was an
            energy sales company to create and
            export methanol gas that never
            conducted any business., 100%
            ownership

   27       Weston Canal, LLC. This business                            0.00                      0.00         OA                        0.00                           FA
            ceased operations 1/2019. This was
            formed to buy an industrial site in New
            Jersey. This LLC never conduected any
            business. This business had a bank
            account at Huntington Bank that was
            closed in October 2017., 100%
            ownership

   28       IRA: Fidelity                                             958.70                      0.00         OA                        0.00                           FA

   29       NY's 529 College Savings Plan                       76,117.17                         0.00         OA                        0.00                           FA

   30       Debtor has 2 trusts with only assets being                  0.00                      0.00         OA                        0.00                           FA
            2 life insurance policies. Both policies are
            term, no cash value.

   31       NOL: Federal                                     2,000,000.00                         0.00         OA                        0.00                           FA



UST Form 101-7-TDR ( 10 /1/2010)
             Case 19-04682-JJG-7A                          Doc 92      Filed 06/08/21            EOD 06/08/21 11:27:46                        Pg 14 of 20

                                                           Form 1
                                                                                                                                                     Exhibit 8
                                       Individual Estate Property Record and Report                                                                  Page: 4

                                                        Asset Cases
Case No.:    19-04682                                                                    Trustee Name:      (340580) Jenice Golson-Dunlap
Case Name:        GREENWALT, JEFFREY ALAN                                                Date Filed (f) or Converted (c): 06/25/2019 (f)
                                                                                         § 341(a) Meeting Date:       08/06/2019
For Period Ending:       06/07/2021                                                      Claims Bar Date:      01/06/2020

                                   1                               2                    3                      4                   5                      6

                           Asset Description                    Petition/       Estimated Net Value     Property Formally     Sale/Funds             Asset Fully
                (Scheduled And Unscheduled (u) Property)      Unscheduled      (Value Determined By        Abandoned        Received by the       Administered (FA)/
                                                                 Values               Trustee,             OA=§554(a)           Estate             Gross Value of
                                                                              Less Liens, Exemptions,       abandon.                              Remaining Assets
  Ref. #                                                                         and Other Costs)

   32       Int. in Ins. policies: Term life insurance                 0.00                      0.00         OA                        0.00                           FA
            policy.

   33       2018 Federal and State Tax refunds (u)                     0.00                      0.00         OA                        0.00                           FA

   34       2019 State and Federal Tax Refunds (u)                     0.00                      0.00         OA                        0.00                           FA

   35       25% of wages (u)                                           0.00                      0.00         OA                        0.00                           FA

   35       Assets Totals (Excluding unknown values)         $2,435,254.76               $69,855.00                             $54,007.00                       $0.00


        RE PROP# 4           Pistols, rifles art First to Arrive, Two PIcasso Type Art, Bikes, Klien Quantum, Giant Rebel, Cannon Dale F-9
                             Rolex Watch, Tachymeter, Choppard Watch




 Major Activities Affecting Case Closing:

                                02/08/2021 Final distribution made. TDR will be submitted when all checks clear.

                                11/11/2020 Paid Trustee's Accountants' fees and expenses pursuant to court order of 11/10/2020.

                                11/10/2020 Received Prompt Determination Letter.

                                06/26/2020 Attorney fees paid. Awaiting tax returns to be prepared by Trustee's accountant.

                                06/24/2020 Order Granting Application for Final Compensation and/or Reimbursement of Expenses Pursuant
                                to Sec. 330 for Rubin & Levin, P.C. as Trustee's Attorney (Fee: $1,461.50, Expense: $20.45)

                                05/06/2020 Check cut and mailed to Trustee's counsel for fees and expenses.

                                02/27/2020 Filing fee paid for motion to sell.

                                02/27/2020 Motion to Sell Property Free and Clear of Liens (private sale with specific buyer identified), with
                                Notice & Certificate of Service, filed by James T Young on behalf of Trustee Jenice Golson-Dunlap. $181
                                Filing Fee or Motion for Authority to Defer Filing Fee due by 03/04/2020. Objections due by 03/18/2020.

                                December 19, 2019 Attended 2004 Exam of debtor at Rubin & Levin law office.

                                December 5, 2019 Two $1, 000 monthly payment on real estate real estate located at 2409 E 46th Street,
                                Indianapolis, IN 46205.Debtor receives 50% of monthly payment. This property is being sold on land contract
                                to a church. There is approximately $125,000 still owed on the land contract.

                                August 6, 2019- Under advisement for copies of appraisal of household goods, 2018 state and federal tax
                                refunds just filed July 24, 2019, Life insurance Trust, oversea bank account statement, $15,000.00 in funds
                                transferred. 25% of wages, timeshare valued at $5,000.00 free & clear,2019 federal and state tax returns.
                                July 11, 2019 Application to Employ Rubin & Levin, P.C. as Counsel filed.


 Initial Projected Date Of Final Report (TFR): 12/31/2020                     Current Projected Date Of Final Report (TFR):            12/07/2020 (Actual)




UST Form 101-7-TDR ( 10 /1/2010)
            Case 19-04682-JJG-7A            Doc 92   Filed 06/08/21     EOD 06/08/21 11:27:46               Pg 15 of 20

                                                        Form 1
                                                                                                                   Exhibit 8
                                    Individual Estate Property Record and Report                                   Page: 5

                                                     Asset Cases
Case No.:   19-04682                                            Trustee Name:      (340580) Jenice Golson-Dunlap
Case Name:     GREENWALT, JEFFREY ALAN                          Date Filed (f) or Converted (c): 06/25/2019 (f)
                                                                § 341(a) Meeting Date:    08/06/2019
For Period Ending:     06/07/2021                               Claims Bar Date:     01/06/2020


                     06/07/2021                                       /s/Jenice Golson-Dunlap
                        Date                                          Jenice Golson-Dunlap




UST Form 101-7-TDR ( 10 /1/2010)
             Case 19-04682-JJG-7A                       Doc 92         Filed 06/08/21               EOD 06/08/21 11:27:46                           Pg 16 of 20

                                                                Form 2                                                                                     Exhibit 9
                                                                                                                                                           Page: 1
                                                Cash Receipts And Disbursements Record
Case No.:              19-04682                                          Trustee Name:                        Jenice Golson-Dunlap (340580)
Case Name:             GREENWALT, JEFFREY ALAN                           Bank Name:                           Mechanics Bank
Taxpayer ID #:         **-***8355                                        Account #:                           ******3700 Checking
For Period Ending:     06/07/2021                                        Blanket Bond (per case limit):       $29,496,184.00
                                                                         Separate Bond (if applicable):       N/A

    1            2                      3                                        4                                  5                       6                          7

  Trans.    Check or       Paid To / Received From          Description of Transaction          Uniform         Deposit               Disbursement           Account Balance
   Date      Ref. #                                                                            Tran. Code         $                         $

 10/04/19     {14}     JEFFREY ALAN GREENWALT           Parcel of real estate located at        1129-000                3,000.00                                            3,000.00
                                                        2409 E. 46th Street, sold on land
                                                        contract to a church
 10/31/19              Mechanics Bank                   Bank and Technology Services            2600-000                                            5.00                    2,995.00
                                                        Fees
 11/29/19              Mechanics Bank                   Bank and Technology Services            2600-000                                            5.00                    2,990.00
                                                        Fees
 12/05/19     {14}     JEFFREY ALAN GREENWALT           Contract payments made post-            1129-000                2,000.00                                            4,990.00
                                                        petition
 12/20/19     {14}     JEFFREY ALAN GREENWALT           Contract Payment                        1129-000                1,000.00                                            5,990.00
 12/31/19              Mechanics Bank                   Bank and Technology Services            2600-000                                            5.00                    5,985.00
                                                        Fees
 01/31/20              Mechanics Bank                   Bank and Technology Services            2600-000                                            5.06                    5,979.94
                                                        Fees
 02/14/20     {14}     JEFFREY ALAN GREENWALT           Contract payment                        1129-000                1,000.00                                            6,979.94
 02/27/20     101      UNITED STATES BANKRUPTCY         Filing Fee - Motion to Sell Doc #50.    2700-000                                         181.00                     6,798.94
                       COURT CLERK
 02/28/20              Mechanics Bank                   Bank and Technology Services            2600-000                                            5.00                    6,793.94
                                                        Fees
 03/31/20     {14}     Chase on line bill pay-Jeffrey   Contract payment                        1129-000                1,000.00                                            7,793.94
                       Greenwalt
 03/31/20              Mechanics Bank                   Bank and Technology Services            2600-000                                            5.42                    7,788.52
                                                        Fees
 04/02/20     {14}     Wells Fargo Bank, NA             pursuant to Avonlea LLC                 1129-000            40,000.00                                              47,788.52
 04/15/20     102      United States Bankruptcy Court   Fee for Motion to Sell Docket #60       2700-000                                         181.00                    47,607.52
 04/30/20              Mechanics Bank                   Bank and Technology Services            2600-000                                          69.75                    47,537.77
                                                        Fees
 05/01/20     {4}      CHASE BANK NA, USA,              Pursuant to Motion To Comp and          1129-000                1,437.00                                           48,974.77
                                                        Settle Order Doc. #61
 05/05/20     103      RUBIN & LEVIN                    05/06/2020 Trustee's attorney's         3210-000                                    15,683.01                      33,291.76
                                                        fees and expenses pursuant to
                                                        court order of 5/5/2020
 05/29/20     104      CHRISTY'S OF INDIANA             Auctioneer's Fees and Expenses                                                           469.00                    32,822.76
                                                        pursuant to court order of May 21,
                                                        2020.
                                                        Fees                                    3610-000
                                                                                     $457.00
                                                        Expenses                                3620-000
                                                                                      $12.00
 05/29/20              Mechanics Bank                   Bank and Technology Services            2600-000                                          60.24                    32,762.52
                                                        Fees
 06/02/20     {4}      CHRISTYS OF INDIANA, INC         Sale of personal property pursuant      1129-000                4,570.00                                           37,332.52
                                                        to Order
 06/26/20     105      RUBIN & LEVIN A                  Trustee's attorney's fees and                                                           1,481.95                   35,850.57
                       PROFESSIONAL                     expenses pursuant to court order
                       CORPORATION                      of 6/24/2020.
                                                        Fees                                    3210-000
                                                                                 $1,461.50
                                                        Expenses                                3220-000
                                                                                      $20.45
 06/30/20              Mechanics Bank                   Bank and Technology Services            2600-000                                          62.33                    35,788.24
                                                        Fees
                                                                                            Page Subtotals:      $54,007.00              $18,218.76


{ } Asset Reference(s)        UST Form 101-7-TDR ( 10 /1/2010)                                                                     ! - transaction has not been cleared
             Case 19-04682-JJG-7A                        Doc 92          Filed 06/08/21            EOD 06/08/21 11:27:46                      Pg 17 of 20

                                                                 Form 2                                                                              Exhibit 9
                                                                                                                                                     Page: 2
                                                 Cash Receipts And Disbursements Record
Case No.:              19-04682                                            Trustee Name:                    Jenice Golson-Dunlap (340580)
Case Name:             GREENWALT, JEFFREY ALAN                             Bank Name:                       Mechanics Bank
Taxpayer ID #:         **-***8355                                          Account #:                       ******3700 Checking
For Period Ending:     06/07/2021                                          Blanket Bond (per case limit):   $29,496,184.00
                                                                           Separate Bond (if applicable):   N/A

    1            2                      3                                          4                              5                     6                        7

  Trans.    Check or       Paid To / Received From            Description of Transaction       Uniform        Deposit             Disbursement         Account Balance
   Date      Ref. #                                                                           Tran. Code        $                       $

 07/31/20              Mechanics Bank                     Bank and Technology Services         2600-000                                     59.26                    35,728.98
                                                          Fees
 08/31/20              Mechanics Bank                     Bank and Technology Services         2600-000                                     55.20                    35,673.78
                                                          Fees
 09/30/20              Mechanics Bank                     Bank and Technology Services         2600-000                                     60.82                    35,612.96
                                                          Fees
 10/13/20              Transfer Debit to Metropolitan     Transition Debit to Metropolitan     9999-000                                 35,612.96                         0.00
                       Commercial Bank acct               Commercial Bank acct
                       XXXXXX1577                         XXXXXX1577

                                            COLUMN TOTALS                                                          54,007.00             54,007.00                       $0.00
                                                   Less: Bank Transfers/CDs                                             0.00             35,612.96
                                            Subtotal                                                               54,007.00             18,394.04
                                                   Less: Payments to Debtors                                                                  0.00

                                            NET Receipts / Disbursements                                          $54,007.00           $18,394.04




{ } Asset Reference(s)        UST Form 101-7-TDR ( 10 /1/2010)                                                                 ! - transaction has not been cleared
             Case 19-04682-JJG-7A                       Doc 92         Filed 06/08/21               EOD 06/08/21 11:27:46                        Pg 18 of 20

                                                              Form 2                                                                                    Exhibit 9
                                                                                                                                                        Page: 3
                                              Cash Receipts And Disbursements Record
Case No.:              19-04682                                         Trustee Name:                         Jenice Golson-Dunlap (340580)
Case Name:             GREENWALT, JEFFREY ALAN                          Bank Name:                            Metropolitan Commercial Bank
Taxpayer ID #:         **-***8355                                       Account #:                            ******1577 Checking Account
For Period Ending:     06/07/2021                                       Blanket Bond (per case limit):        $29,496,184.00
                                                                        Separate Bond (if applicable):        N/A

    1            2                    3                                         4                                   5                    6                          7

  Trans.    Check or       Paid To / Received From          Description of Transaction          Uniform         Deposit            Disbursement           Account Balance
   Date      Ref. #                                                                            Tran. Code         $                      $

 10/13/20              Transfer Credit from Mechanics   Transition Credit from Mechanics        9999-000            35,612.96                                           35,612.96
                       Bank acct XXXXXX3700             Bank acct XXXXXX3700
 10/30/20              Metropolitan Commercial Bank     Bank and Technology Services            2600-000                                       56.92                    35,556.04
                                                        Fees
 11/11/20    1000      MARIETTA CPAs                    Trustee's Accountants' fees and                                                      3,127.25                   32,428.79
                                                        expenses pursuant to court order
                                                        of 11/10/2020
                                                        Fees                                    3410-000
                                                                                 $3,049.75
                                                        Expenses                                3420-000
                                                                                     $77.50
 11/30/20              Metropolitan Commercial Bank     Bank and Technology Services            2600-000                                       53.60                    32,375.19
                                                        Fees
 02/08/21    1001      JENICE GOLSON-DUNLAP             Combined trustee compensation &                                                      6,130.38                   26,244.81
                                                        expense dividend payments.
                       JENICE GOLSON-DUNLAP             Claims Distribution - Mon, 12-07-       2100-000
                                                        2020
                                                                                 $5,950.35
                       JENICE GOLSON-DUNLAP             Claims Distribution - Mon, 12-07-       2200-000
                                                        2020
                                                                                    $180.03
 02/08/21    1002      ABSOLUTE RESOLUTIONS             Distribution payment - Dividend         7100-000                                      118.24                    26,126.57
                       INVESTMENTS, LLC C/O             paid at 0.51% of $23,205.03;
                       ABSOLUTE RESOLUTIONS             Claim # 1; Filed: $23,205.03
                       CORPORATION
 02/08/21    1003      MICHAEL BARFIELD-                Distribution payment - Dividend         7100-000                                       35.54                    26,091.03
                       BARNWELL WHALEY PATTERS          paid at 0.51% of $6,973.83; Claim
                                                        # 2; Filed: $6,973.83
 02/08/21    1004      AMERICAN EXPRESS                 Combined dividend payments for                                                        572.96                    25,518.07
                       NATIONAL BANK C/O BECKET         Claim #3, 8, 10
                       AND LEE LLP
                       AMERICAN EXPRESS                 Claims Distribution - Mon, 12-07-       7100-000
                       NATIONAL BANK C/O BECKET         2020
                       AND LEE LLP
                                                                                    $179.71
                       AMERICAN EXPRESS                 Claims Distribution - Mon, 12-07-       7100-000
                       NATIONAL BANK C/O BECKET         2020
                       AND LEE LLP
                                                                                     $70.00
                       AMERICAN EXPRESS                 Claims Distribution - Mon, 12-07-       7100-000
                       NATIONAL BANK C/O BECKET         2020
                       AND LEE LLP
                                                                                    $323.25
 02/08/21    1005      CLARK & ASSOCIATES, INC.         Distribution payment - Dividend         7100-000                                       12.29                    25,505.78
                                                        paid at 0.51% of $2,412.39; Claim
                                                        # 4; Filed: $2,412.39
 02/08/21    1006      JPMORGAN CHASE BANK, N.A.        Combined dividend payments for                                                        961.11                    24,544.67
                       S/B/M/T CHASE BANK USA, N.A.     Claim #5, 6, 7, 9
                       C/O ROBERTSON, ANSCHUTZ
                       & SCHNEID, P.L.
                       JPMORGAN CHASE BANK, N.A.        Claims Distribution - Mon, 12-07-       7100-000
                       S/B/M/T CHASE BANK USA, N.A.     2020
                       C/O ROBERTSON, ANSCHUTZ
                       & SCHNEID, P.L.                                              $201.86

                       JPMORGAN CHASE BANK, N.A.        Claims Distribution - Mon, 12-07-       7100-000
                       S/B/M/T CHASE BANK USA, N.A.     2020
                       C/O ROBERTSON, ANSCHUTZ
                       & SCHNEID, P.L.                                              $188.88

                                                                                            Page Subtotals:      $35,612.96           $11,068.29


{ } Asset Reference(s)        UST Form 101-7-TDR ( 10 /1/2010)                                                                  ! - transaction has not been cleared
             Case 19-04682-JJG-7A                     Doc 92          Filed 06/08/21              EOD 06/08/21 11:27:46                        Pg 19 of 20

                                                              Form 2                                                                                  Exhibit 9
                                                                                                                                                      Page: 4
                                              Cash Receipts And Disbursements Record
Case No.:              19-04682                                        Trustee Name:                      Jenice Golson-Dunlap (340580)
Case Name:             GREENWALT, JEFFREY ALAN                         Bank Name:                         Metropolitan Commercial Bank
Taxpayer ID #:         **-***8355                                      Account #:                         ******1577 Checking Account
For Period Ending:     06/07/2021                                      Blanket Bond (per case limit):     $29,496,184.00
                                                                       Separate Bond (if applicable):     N/A

    1            2                   3                                         4                                5                      6                          7

  Trans.    Check or       Paid To / Received From         Description of Transaction         Uniform       Deposit              Disbursement           Account Balance
   Date      Ref. #                                                                          Tran. Code       $                        $

                       JPMORGAN CHASE BANK, N.A.       Claims Distribution - Mon, 12-07-     7100-000
                       S/B/M/T CHASE BANK USA, N.A.    2020
                       C/O ROBERTSON, ANSCHUTZ
                       & SCHNEID, P.L.                                             $228.01

                       JPMORGAN CHASE BANK, N.A.       Claims Distribution - Mon, 12-07-     7100-000
                       S/B/M/T CHASE BANK USA, N.A.    2020
                       C/O ROBERTSON, ANSCHUTZ
                       & SCHNEID, P.L.                                             $342.36

 02/08/21    1007      WILLIAM Q. WALKER, JR. &        Distribution payment - Dividend       7100-000                                      8,428.65                   16,116.02
                       JOHN L. SIMMS                   paid at 0.51% of $1,654,119.54;
                                                       Claim # 11; Filed: $1,654,119.54
 02/08/21    1008      BANK OF AMERICA, N.A.           Combined dividend payments for                                                       686.47                    15,429.55
                                                       Claim #12, 15
                       BANK OF AMERICA, N.A.           Claims Distribution - Mon, 12-07-     7100-000
                                                       2020
                                                                                   $512.72
                       BANK OF AMERICA, N.A.           Claims Distribution - Mon, 12-07-     7100-000
                                                       2020
                                                                                   $173.75
 02/08/21    1009      TOYOTA MOTOR CREDIT             Distribution payment - Dividend       7100-000                                        10.43                    15,419.12
                       CORPORATION C/O BECKET          paid at 0.51% of $2,046.11; Claim
                       AND LEE LLP                     # 13; Filed: $2,046.11
 02/08/21    1010      DIRECTV, LLC BY AMERICAN        Distribution payment - Dividend       7100-000                                          1.47                   15,417.65
                       INFOSOURCE AS AGENT             paid at 0.51% of $288.90; Claim #
                                                       14; Filed: $288.90
 02/08/21    1011      PYOD, LLC RESURGENT             Distribution payment - Dividend       7100-000                                        23.19                    15,394.46
                       CAPITAL SERVICES                paid at 0.51% of $4,551.20; Claim
                                                       # 16; Filed: $4,551.20
 02/08/21    1012      PORTER, ROGERS, DAHLMAN         Distribution payment - Dividend       7100-000                                       107.83                    15,286.63
                       AND GORDON, PC                  paid at 0.51% of $21,162.76;
                                                       Claim # 19; Filed: $21,162.76
 02/08/21    1013      CANYON SUPPLY &                 Distribution payment - Dividend       7100-000                                  15,286.63                           0.00
                       LOGISTICS, LLC C/O ROGER        paid at 0.51% of $3,000,000.00;
                       BRAUGH, SICO WHITE              Claim # 20; Filed: $3,000,000.00
                       HOELSCHER

                                         COLUMN TOTALS                                                          35,612.96               35,612.96                         $0.00
                                                Less: Bank Transfers/CDs                                        35,612.96                      0.00
                                         Subtotal                                                                      0.00             35,612.96
                                                Less: Payments to Debtors                                                                      0.00

                                         NET Receipts / Disbursements                                                 $0.00           $35,612.96




{ } Asset Reference(s)       UST Form 101-7-TDR ( 10 /1/2010)                                                                 ! - transaction has not been cleared
             Case 19-04682-JJG-7A                      Doc 92   Filed 06/08/21        EOD 06/08/21 11:27:46                    Pg 20 of 20

                                                       Form 2                                                                     Exhibit 9
                                                                                                                                  Page: 5
                                       Cash Receipts And Disbursements Record
Case No.:           19-04682                                    Trustee Name:                   Jenice Golson-Dunlap (340580)
Case Name:          GREENWALT, JEFFREY ALAN                     Bank Name:                      Metropolitan Commercial Bank
Taxpayer ID #:      **-***8355                                  Account #:                      ******1577 Checking Account
For Period Ending: 06/07/2021                                   Blanket Bond (per case limit): $29,496,184.00
                                                                Separate Bond (if applicable): N/A




                                                                                                   NET                    ACCOUNT
                                 TOTAL - ALL ACCOUNTS                        NET DEPOSITS     DISBURSEMENTS               BALANCES
                                 ******3700 Checking                               $54,007.00         $18,394.04                  $0.00

                                 ******1577 Checking Account                            $0.00               $35,612.96                $0.00

                                                                                   $54,007.00              $54,007.00                 $0.00




                 06/07/2021                                             /s/Jenice Golson-Dunlap
                   Date                                                 Jenice Golson-Dunlap




UST Form 101-7-TDR (10 /1/2010)
